           Case 2:03-cr-00546-MCE Document 53 Filed 11/14/06 Page 1 of 2


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     Attorney for Defendant
 5   ARMAN MKRTCHYAN
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 8                            IN THE UNITED STATES DISTRICT COURT
 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA
10                                       SACRAMENTO DIVISION
11

12   UNITED STATES OF AMERICA,                         ) 2:03-cr-0546-MCE
                                                       )
13                               Plaintiff,            )
                                                       )
14            vs.                                      )
                                                       ) APPLICATION FOR ORDER
15                                                     ) EXONERATING BAIL; ORDER
                                                       )
16   ARMAN MKRTCHYAN,                                  )
                                                       )
17                               Defendant.            )
                                                       )
18

19             Defendant, ARMAN MKRTCHYAN, by and through undersigned counsel, applies for
20   an order from this court exonerating the bail posted to secure his release in this case. Defendant
21   is making this application on the ground that his bail was never formally exonerated at the
22   conclusion of the case. Accordingly, the unsecured bond in favor of the Clerk of Court posted to
23   ///
24   ///
25   ///
26   ///
27   ///
28   ///

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     _________________________________________________________________________________________________
       Case 2:03-cr-00546-MCE Document 53 Filed 11/14/06 Page 2 of 2


 1   secure defendant’s release has not been extinguished and remains in effect. Defendant is
 2   currently out of custody on supervised release.
 3
     Dated: November 6, 2006                        Respectfully submitted,
 4
                                                    JOSEPH J. WISEMAN, P.C.
 5

 6
                                                    By: __/s/Joseph J. Wiseman________________
 7                                                         JOSEPH J. WISEMAN
                                                           Attorney for Defendant
 8                                                         ARMAN MKRTCHYAN
 9

10                                                  ORDER
11
            GOOD CAUSE having been shown, IT IS HEREBY ORDERED THAT the bail posted
12
     in this case to secure the defendant’s release is EXONERATED.
13
     Dated: November 14, 2006
14

15                                              __________________________________
                                                MORRISON C. ENGLAND, JR
16                                              UNITED STATES DISTRICT JUDGE
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